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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 JESUS CHRIST,
                                                    21-cv-07140-VC
                Plaintiff,

         v.                                         JUDGMENT

 DONALD JOHN TRUMP,
                Defendant.



       The Court, having dismissed this case with prejudice, now enters judgment in favor of the
defendant and against the plaintiff. The Clerk of Court is directed to close the case.
       IT IS SO ORDERED.

Dated: October 4, 2021

                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
